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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL
COMMITTEE and DEMOCRATIC
PARTY OF WISCONSIN,

            Plaintiffs,

      v.                                     Case No. 20-CV-00249

MARGE BOSTELMANN, JULIE M.
GLANCEY, ANN S. JACOBS, DEAN
KNUDSON, ROBERT F. SPINDELL,
JR., and MARK L. THOMSEN, in their
official capacities as Wisconsin Elections
Commissioners,

            Defendants.


              NOTICE OF WITHDRAWAL OF ATTORNEY


      Notice is hereby given that Assistant Attorney General Brian P. Keenan

withdraws as counsel for Defendants Marge Bostelmann, Julie M. Glancy,

Ann S. Jacobs, Dean Knudson, Robert F. Spindell Jr. and Mark L. Thomsen in

the above-captioned case due to the substitution of Lawton & Cates, S.C. as

counsel for the defendants (Dkt. 48).




                            [signature page follows]
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     Dated this 26th day of March 2020.

                                   Respectfully submitted,

                                   ERIC J. WILSON
                                   Deputy Attorney General of Wisconsin

                                   Electronically signed by:

                                   s/ Brian P. Keenan
                                   BRIAN P. KEENAN
                                   Assistant Attorney General
                                   State Bar #1056525

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